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       GLOBAL NOTES AND STATEMENTS OF LIMITATION, METHODOLOGY,
       AND DISCLAIMERS REGARDING THE DEBTOR’S SCHEDULES OF
       ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

           Eventide Credit Acquisitions, LLC (“ECA”) debtor in possession (the “Debtor”)1
     filed for chapter 11 (the “Chapter 11 Case”) and in connection therewith has filed its
     respective Schedules of Assets and Liabilities (collectively, the “Schedules”) and the
     Statement of Financial Affairs (collectively, the “Statements” and, together with the
     Schedules, the “Schedules and Statements”) in the United States Bankruptcy Court for
     the Northern District of Texas Fort Worth Division (the “Bankruptcy Court”). The
     Debtor, with the assistance of its legal and financial advisors, prepared the Schedules and
     Statements, pursuant to section 521 of Chapter of Title 11 of the United States Code (the
     “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the
     “Bankruptcy Rules”), and are unaudited.

           In 2019 alone, the Debtor paid over $7.5 million in legal fees defending itself and
     certain parties it is required to indemnify in pending litigation. As the Debtor has not
     received payments under the promissory note that is its primary asset (the “Promissory
     Note”) in more than a year, as a result of both past and prospective breaches of the terms
     of the Promissory Note and related transaction documents by Tribal Economic
     Development Holdings, LLC (“TED”), Big Picture Loans, LLC, Ascension Technologies,
     LLC, and the Lac Vieux Desert Band of Lake Superior Chippewa Indians, the Debtor was
     forced to file a voluntary petition for protection under Chapter 11 of the Bankruptcy Code
     with the Bankruptcy Court on January 28, 2020.

           While the Debtor’s management has made every reasonable effort to ensure that the
     Schedules and Statements are as accurate and complete as possible, based on the
     discrepancy in tax reporting calculations used, the complexity of the multiple litigation
     claims and the large legal fees associated therewith, the complex loan value calculations
     at issue, and the data and information that was available at the time of preparation,
     subsequent information or discovery could provide more information about the items
     identified in the Schedules and Statements, and inadvertent errors or omissions may have
     occurred.

             These Global Notes and Statement of Limitations, Methodology, and Disclaimers
     Regarding the Debtor’s Schedules of Assets and Liabilities and Statements of Financial
     Affairs (the “Global Notes”) are incorporated by reference in, and comprise an integral part
     of, the Debtor’s Schedules and Statements, and should be referred to and considered in
     connection with any review of the Schedules and Statements.

          The Schedules and Statements for the Debtor are signed by Drew McManigle,
     Manager of the Debtor. In reviewing and signing the Schedules and Statements, Mr.

 1
   The location of the Debtor’s corporate headquarters and service address is 1920 McKinney Ave, 7th Floor Dallas,
 TX 75201.
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    McManigle relied upon his knowledge of the business, the Debtor’s accounting and
    financial data, and the efforts, statements, advice, and representations of personnel of the
    Debtor and the Debtor’s legal and financial advisors.

            In preparing the Schedules and Statements, the Debtor relied on financial data
    derived from its books and records that was available at the time of such preparation. The
    Debtor, and its agents, attorneys, and financial advisors do not guarantee or warrant the
    accuracy or completeness of the data that is provided herein, and shall not be liable for any
    loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,
    whether negligent or otherwise, in procuring, compiling, collecting, interpreting,
    reporting, communicating, or delivering the information contained herein. While
    commercially reasonable efforts have been made to provide accurate and complete
    information herein, inadvertent errors or omissions may exist. For the avoidance of doubt,
    the Debtor and its professionals expressly do not undertake any obligation to update,
    modify, revise, or re-categorize the information provided herein, or to notify any third
    party should the information be updated, modified, revised, or re-categorized, except as
    required by applicable law. In no event shall the Debtor, or its agents, attorneys, and
    financial advisors, be liable to any third party for any direct, indirect, incidental,
    consequential, or special damages (including, but not limited to, damages arising from the
    disallowance of a potential claim against the Debtor or damages to business reputation,
    lost business, or lost profits), whether foreseeable or not and however caused, even if the
    Debtor or its agents, attorneys, or financial advisors are advised of the possibility of such
    damages.

         Global Notes and Overview of Methodology

    1.       Description of Case. On January 28, 2020, (the “Petition Date”), the Debtor filed
             a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

    2.       Reservations and Limitations. Commercially reasonable efforts have been made
             to prepare and file complete and accurate Schedules and Statements; however, as
             noted above, inadvertent errors or omissions may exist. Nothing contained in the
             Schedules and Statements constitutes a waiver of any of the Debtor’s rights or an
             admission of any kind with respect to this chapter 11 case, including, but not limited
             to, any rights or claims of the Debtor against any third party or issues involving
             equitable subordination, or defenses or causes of action arising under the provisions
             of chapter 5 of the Bankruptcy Code or any other relevant applicable bankruptcy or
             non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation
             of rights contained elsewhere in the Global Notes does not limit in any respect the
             general reservation of rights contained in this paragraph.

             (a)    No Admission. Nothing contained in the Schedules and Statements is
                    intended or should be construed as an admission or stipulation of the validity
                    of any claim against the Debtor, any assertion made therein or herein, or a
                    waiver of the right to dispute any claim or assert any cause of action or
                    defense against any party.
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          (b)    Recharacterization. Notwithstanding that the Debtor has made
                 commercially reasonable efforts to correctly characterize, classify,
                 categorize, or designate certain claims, assets, executory contracts,
                 unexpired leases, and other items reported in the Schedules and Statements,
                 the Debtor nonetheless may have improperly characterized, classified,
                 categorized, or designated certain items.

          (c)    Categories or Labels for Purpose of Presentation in Schedules and
                 Statements. Information requested by the Schedules and Statements
                 requires the Debtor to make a judgment regarding the appropriate
                 category in which information should be presented or how certain
                 parties, claims or other data should be labeled. The Debtor’s decisions
                 regarding the category or label to use is based on the best information
                 available as of the filing of these Schedules and Statements and within the
                 time constraints imposed.

          (d)    Classifications. Listing or not listing (i) a claim on Schedule D as “secured,”
                 (ii) a claim on Schedule E/F as “priority” or “unsecured,” or (iii) a contract
                 on Schedule G as “executory” or “unexpired” does not constitute an
                 admission by the Debtor of the legal rights of the claimant or contract
                 counterparty, or a waiver of the right to recharacterize or reclassify such
                 claim or contract.

          (e)    Claims Description. Any failure to designate a claim on the Debtor’s
                 Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
                 does not constitute an admission by the Debtor that such amount is not
                 “disputed,” “contingent,” or “unliquidated.”

          (f)    Estimates and Assumptions. The preparation of the Schedules and
                 Statements required the Debtor to make reasonable estimates and
                 assumptions with respect to the reported amounts of assets and liabilities,
                 the amount of contingent assets and contingent liabilities on the date of the
                 Schedules and Statements, and the reported amounts of revenues and
                 expenses during the applicable reporting periods. Actual results could differ
                 from such estimates.

           (g)   Causes of Action. Despite commercially reasonable efforts, the Debtor may
                 not have identified all current and potential causes of action the Debtor may
                 have against third parties in its respective Schedules and Statements,
                 including, without limitation, avoidance actions arising under chapter 5 of
                 the Bankruptcy Code and actions under other relevant bankruptcy and non-
                 bankruptcy laws to recover assets.

          (h)    Insiders. In the circumstance where the Schedules and Statements require

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                     information regarding “insiders,” the Debtor has included information with
                     respect to certain individuals who served as officers and managers, as the case
                     may be, during the relevant time periods. Such individuals may no longer
                     serve in such capacities.

                    The listing or omission of a party as an insider for purposes of the Schedules
                    and Statements is not intended to be, nor should it be, construed as an
                    admission of any fact, right, claim, or defense and all such rights, claims, and
                    defenses are hereby expressly reserved. Information regarding the
                    individuals listed as insiders in the Schedules and Statements has been
                    included for informational purposes only.

       3.         Methodology.
            (a)      Basis of Presentation. The Debtor relied on its accounting firm to maintain
                     Debtor’s books and records.
                     These Schedules and Statements do not purport to represent financial
                     statements prepared in accordance with accounting principles generally
                     accepted in the United States (“GAAP”), nor are they intended to fully
                     reconcile to the financial statements prepared by the Debtor. These
                     Schedules and Statements reflect the best available estimate of assets and
                     liabilities of the Debtor, except where otherwise indicated. Information
                     contained in the Schedules and Statements has been derived from the data
                     extracted from the Debtor’s books and records and historical financial
                     statements. The fair value and net realizable value of personal property may
                     vary materially from the net book value presented herein.
                     Given, among other things, the uncertainty surrounding the condition,
                     collection and ownership of certain assets and the valuation and nature of
                     certain liabilities, that the Debtor shows more assets than liabilities is not
                     an admission that the Debtor was solvent as of the Petition Date or at any
                     time prior to the Petition Date.
                     All asset and liability information, except where otherwise noted, is
                     reflected through January 28, 2020.

            (b)      Confidential Information. There may be instances in the Schedules and
                     Statements where the Debtor deemed it necessary and appropriate to
                     redact from the public record information such as names, addresses, or
                     amounts. Generally, the Debtor may have used this approach for the
                     privacy of an individual.

            (c)      Master Agreements. Contracts listed in the Schedules and Statements may
                     be master agreements that cover relationships with the Debtor. Debtor
                     reserves all rights to amend the Schedules and Statements to reflect changes
                     regarding the liability of the Debtor with respect to such agreements, if
                     appropriate.
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          (d)   Duplication. Certain of the Debtor’s assets, liabilities, and prepetition
                payments may properly be disclosed in multiple parts of the Schedules and
                Statements. To the extent these disclosures would be duplicative, the Debtor
                has endeavored to only list such assets, liabilities, and prepetition payments
                once.

          (e)   Undetermined Amounts. The description of an amount as “unknown,” is
                not intended to reflect upon the materiality of such amount.

          (f)   Unliquidated Amounts. Claim amounts that could not be readily quantified
                by the Debtor are scheduled as "unliquidated." The description of an amount
                as "unknown," or "undetermined" is not intended to reflect upon the
                materiality of such amount. Any failure to designate a claim in the Schedules
                and Statements as "contingent," "unliquidated," or "disputed" does not
                constitute an admission by the Debtor that such claim or amount is not
                "contingent," "unliquidated," or "disputed." The Debtor reserves all rights to
                dispute, or to assert offsets or defenses to, any claim reflected on the
                Schedules and Statements on any grounds, including, but not limited to,
                amount, liability, priority, status, or classification, or to otherwise
                subsequently designate any claim as "contingent," "unliquidated," or
                "disputed."

          (g)   Totals. All totals that are included in the Schedules and Statements represent
                totals of all known amounts. To the extent there are unknown or
                undetermined amounts, the actual total may be different from the listed total.

          (h)   Credits and Adjustments. The claims of individual creditors for, among
                other things, goods, products, services, or taxes are listed as the amounts
                entered on the Debtor’s books and records and may either (i) not reflect
                credits, allowances, or other adjustments due from such creditors to the
                Debtor or (ii) be net of accrued credits, allowances, or other adjustments that
                are actually owed by a creditor to the Debtor on a post-petition basis on
                account of such credits, allowances, or other adjustments earned from
                prepetition payments and critical vendor payments, if applicable. The Debtor
                reserves all of its rights with regard to such credits, allowances, or other
                adjustments, including, but not limited to, the right to modify the Schedules,
                assert claims objections and/or setoffs with respect to the same, or apply such
                allowances in the ordinary course of business on a post-petition basis.

          (i)   Affiliate Claims. The Debtor maintains business relationships with other
                entities, conducting business from time to time that may result in affiliate
                receivables and payables and/or are on account of capital contributions,
                equity investments, or distributions on account of equity investments.
                Known and assumed prepetition receivables and payables among and
                between the Debtor and its affiliates are reported on Schedule A/B, and
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                   Schedule E/F, respectively, per the Debtor’s books and records. The listing
                   of any amounts with respect to such receivables and payables is not, and
                   should not be construed as, an admission of the characterization of such
                   balances as debt, equity, or otherwise.

            (j)   Guarantees and Indemnification Claims. The Debtor has exercised
                  commercially reasonable efforts to locate and identify guarantees of its
                  agreements. Where guarantees or indemnification claims have been
                  identified, they have been included in the relevant Schedules E/F, G and H.
                  The Debtor may have inadvertently omitted guarantees or indemnifications
                  embedded in its contractual agreements and may identify additional
                  guarantees or indemnifications as it continues to review its books and records
                  and contractual agreements. The Debtor reserve its rights, but is not
                  required, to amend the Schedules and Statements if additional guarantees
                  are identified.

            (k)   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

       4.       Specific Schedules Disclosures.
            (a)    Schedules Summary. Except as otherwise noted, the asset and liability
                   totals represent amounts through January 28, 2020. The Debtor closes
                   its books quarterly. Based on the size of the Debtor, the scope of its
                   operations and internal accounting resources, a monthly close is not
                   performed.

            (b)   Schedule A/B – Parts 1& 2 - Cash and Cash Equivalents; Deposits and
                  Prepayments. Details with respect to the Debtor’s bank accounts are
                  provided in the Debtor’s Schedules.

            (c)   Schedule A/B, Part 11 – All Other Assets. Debtor did not maintain an asset
                  depreciation schedule.

            (d)   Other Contingent and Unliquidated Claims or Causes of Action of Every
                  Nature, including Counterclaims of the Debtor and Rights to Setoff
                  Claims. The Debtor may be party to pending litigation in which such Debtor
                  has asserted, or may assert, claims as a plaintiff or counterclaims and/or
                  crossclaims as a defendant. Because such claims are unknown to the Debtor
                  and not quantifiable as of the Petition Date, they are not listed on Schedule
                  A/B, Part 11.

            (e)   Schedule E/F – Creditors Who Have Unsecured Claims.

                  Part 2 - Creditors with Nonpriority Unsecured Claims. The liabilities
                  identified in Schedule E/F, Part 2, are derived from the Debtor’s books and
                  records. The Debtor made a commercially reasonable attempt to set forth its
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                     unsecured obligations, although the actual amount of claims against the
                     Debtor may vary from those liabilities represented on Schedule E/F, Part 2.
                     The listed liabilities, which have been listed on a gross accounts’ payable
                     basis, may not reflect the correct amount of any unsecured creditor’s allowed
                     claims or the correct amount of all unsecured claims.

                     Schedule E/F, Part 2, contains information regarding threatened or pending
                     litigation involving the Debtor. The amounts for these potential claims are
                     listed as “undetermined” and are marked as contingent, unliquidated, and
                     disputed in the Schedules and Statements.

                     Schedule E/F, Part 2, does not include claims that may arise in connection
                     with the rejection of any executory contracts and unexpired leases, if any,
                     that may be or have been rejected.

                     In many cases, the claims listed on Schedule E/F, Part 2, arose, accrued, or
                     were incurred on various dates or on a date or dates that are unknown to the
                     Debtor or are subject to dispute. Where the determination of the date on
                     which a claim arose, accrued, or was incurred would be unduly burdensome
                     and costly to the Debtor’s estates, the Debtor has not listed a specific date or
                     dates for such claim.

                     As of the time of filing of the Schedules and Statements, the Debtor may not
                     have received all invoices for payables, expenses, and other liabilities that
                     may have accrued prior to the Petition Date. Accordingly, the information
                     contained in Schedules E/F may be incomplete. The Debtor reserves its
                     rights, but undertakes no obligations, to amend Schedules E/F if, or when,
                     the Debtor receive such invoices.

            (f)      Schedule G – Executory Contracts and Unexpired Leases. While
                     commercially reasonable efforts have been made to ensure the accuracy of
                     Schedule G, inadvertent errors or omissions may have occurred. Omission
                     of a contract or agreement from Schedule G does not constitute an admission
                     that such omitted contract or agreement is not an executory contract.

       5.         Specific Statements Disclosures.

            (a)      Statements, Part 1, Question 1 – Gross Revenue from Business. The
                     interest rate specified in the Promissory Note is 1.81%. The interest income
                     reported on the 1099 issued by TED to the Debtor has been substantially
                     lower than the amount should have been using the 1.81% rate. Anderson,
                     the tax group working with the Debtor, has reached out to TED’s accounting
                     group to attempt to discuss the issue and are still waiting for a response.
                     Debtor reserves its right to amend its Statement of Financial Affairs based
                     upon actual findings.

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             (b)      Statements, Part 2, Question 3 – Payments and Transfers to Certain
                      Creditors within 90 Days. The dates set forth in the “Dates” column relate
                      to one of the following: (i) the date of a wire transfer; (ii) the date of an
                      “ACH” processing; or (iii) the check date. Prior to the Petition Date, the
                      Debtor made payments on behalf of certain non-debtor affiliates.
                      Consequently, for the purpose of this schedule, payments are recorded on
                      the Debtor’s Statements, Part 2, Question 3, based on the Debtor’s bank
                      account.

                      Payments to the Debtor’s bankruptcy professionals and insiders are not
                      included in the payments to creditors. Payments to the aforementioned
                      parties are included in the following locations within the Statements:
                      bankruptcy professionals (Question 11), insider/affiliate (Questions 4, 13,
                      and 11).

             (c)      Statements, Part 3, Question 7 – Legal Actions or Assignments. The Debtor
                      does not know of any workers’ compensation claims in response to this
                      question. However, if any become known, the Debtor maintains that
                      disclosure would be in violation of certain laws including HIPAA (Health
                      Insurance Portability and Accountability Act of 1996).

             (d)      Statements, Part 6, Question 13 – Transfers Not Otherwise Listed. Cash
                      transactions and distributions by the Debtor to its insiders and affiliates of
                      Debtor are listed on the attachment as Exhibit SOFA 4/13/30. These cash
                      transactions are disclosed for purposes of transparency; however Debtor
                      believes that these payments were made in the ordinary course of business.

             (e)      Statements, Part 13, Question 30 – Payments, Distributions, or
                      Withdrawals Credited or Given to Insiders. Distributions by the Debtor
                      are listed on the attachment as Exhibit SOFA 4/13/30.
        6.         Litigants/Claimants

          Best efforts have been made to notice business and people affected by the numerous
   lawsuits related to this petition directly and indirectly but the Debtor cannot guarantee that all
   effected by said litigation/claims were noticed.


          These Global Notes are in addition to the specific notes set forth in the Schedules
   and Statements. The fact that the Debtor has prepared a Global Note with respect to a
   particular Schedule or Statement and not as to others does not reflect and should not be
   interpreted as a decision by the Debtor to exclude the applicability of such Global Note to
   any or all of the Debtor’s remaining Schedules or Statements, as appropriate. Disclosure
   of information in one Schedule, one Statement, or an exhibit or attachment to a Schedule
   or Statement, even if incorrectly placed, shall be deemed to be disclosed in the correct
   Schedule, Statement, exhibit, or attachment.

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 Fill in this information to identify the case:

 Debtor name         Eventide Credit Acquisitions, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         20-40349-11
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                                          $0.00
       From 1/01/2020 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                                $128,301.29
       From 1/01/2019 to 12/31/2019
                                                                                                Other


       For year before that:                                                                    Operating a business                                $338,984.48
       From 1/01/2018 to 12/31/2018
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               American Arbitration Association                            12/18/2019                       $14,000.00          Secured debt
               9 Greenway Plaza #1275                                                                                           Unsecured loan repayments
               Houston, TX 77046                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.2.
               Bowman & Brooke LLP                                         01/08/2020                       $12,780.00          Secured debt
               5830 Granite Pkwy #1000                                     $6,540.00                                            Unsecured loan repayments
               Plano, TX 75024                                             01/17/2020                                           Suppliers or vendors
                                                                           $6,240.00
                                                                                                                                Services
                                                                                                                                Other

       3.3.
               Holland & Knight LLP                                        12/2/2019                        $33,328.83          Secured debt
               200 Crescent Ct #1600                                                                                            Unsecured loan repayments
               Dallas, TX 75201                                                                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.4.
               The MCS Group, Inc.                                         12/04/2019                       $69,330.06          Secured debt
               1601 Market St., Suite 800                                  $21,024.36                                           Unsecured loan repayments
               Philadelphia, PA 19103                                      12/25/2019                                           Suppliers or vendors
                                                                           $15,745.32
                                                                           01/06/2020
                                                                                                                                Services
                                                                           $32,560.38                                           Other

       3.5.
               Spotts Fain, P.C.                                           12/3/2019                       $109,236.97          Secured debt
               411 East Franklin St., Suite 600                            $83,608.97                                           Unsecured loan repayments
               Richmond, VA 23219                                          1/13/2020 $                                          Suppliers or vendors
                                                                           3,172.00
                                                                           1/13/2020 $
                                                                                                                                Services
                                                                           960.00                                               Other
                                                                           1/17/2020
                                                                           $21,496.00
       3.6.
               Pepper Hamilton                                             12/03/2019                         $8,958.50         Secured debt
               3000 Two Logan Square                                       $549.50                                              Unsecured loan repayments
               Philadelphia, PA 19103                                      01/17/2020                                           Suppliers or vendors
                                                                           $8,409.00
                                                                                                                                Services
                                                                                                                                Other

       3.7.
               Van Ness Feldman LLP                                        1/17/2020                        $43,968.60          Secured debt
               1050 Thomas Jefferson St NW                                 $43,968.60                                           Unsecured loan repayments
               Washington, DC 20007                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.8.
               Greer Walker LLP                                            1/6/2020                         $15,472.00          Secured debt
               227 W. Trade Street                                         $15,472.00                                           Unsecured loan repayments
               Suite 110                                                                                                        Suppliers or vendors
               Charlotte, NC 28202                                                                                              Services
                                                                                                                                Other


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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.9.
               Shraiberg, London & Page P.A.                               12/3/2019                          $7,888.00           Secured debt
               2385 NW Executive Center Dr                                 $7,880                                                 Unsecured loan repayments
               Suite 300                                                                                                          Suppliers or vendors
               Boca Raton, FL 33431                                                                                               Services
                                                                                                                                  Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See attached SOFA 4/13/30
               Payments to Insiders

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Williams et al. v. Big Picture                    28:1331 Fed.               US Dist. Court for E. Dist. of             Pending
               Loans, LLC et al.                                 Question:                  Virginia                                   On appeal
               3:17-cv-00461                                     Racketeering               701 East Broad Street
                                                                                                                                       Concluded
                                                                 (RICO) Act                 Richmond, VA 23219

       7.2.    Galloway et al. v. Big Picture                    18:1961                    US Dist. Court, E. Dist. of                Pending
               Loans, LLC et al.                                 Racketeering               Virginia                                   On appeal
               3:18-cv-00406                                     (RICO) Act                 701 E Broad St
                                                                                                                                       Concluded
                                                                                            Richmond, VA 23219




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                 EXHIBIT   76 4/13/30
                         SOFA         ‐ Payments
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Breakwater Holding, LLC
        Bank Account Number                 Date        Description       Payment
Bank of America (4326)                2/23/2018    Distribution       $ (2,086,000.00)
Bank of America (4326)                3/22/2018    Distribution       $ (2,086,000.00)
Tolleson Private Bank BUS CK **6536   4/20/2018    Distribution       $ (1,907,200.00)
Tolleson Private Bank BUS CK **6536   6/14/2018    Distribution       $ (178,800.00)
Tolleson Private Bank BUS CK **6536   6/28/2018    Distribution       $ (1,192,000.00)
Tolleson Private Bank BUS CK **6536   7/31/2018    Distribution       $ (745,000.00)
Tolleson Private Bank BUS CK **6536   11/8/2018    Distribution       $ (298,000.00)
Tolleson Private Bank BUS CK **6536   11/15/2018   Distribution       $ (59,600.00)
Tolleson Private Bank BUS CK **6536   11/27/2018   Distribution       $ (596,000.00)
Tolleson Private Bank BUS CK **6536   1/14/2019    Distribution       $ (274,160.00)
Tolleson Private Bank BUS CK **6536   8/30/2019    Distribution       $ (175,123.00)

Brian McFadden
        Bank Account Number                 Date        Description       Payment
Bank of America (4326)                2/16/2018    Distribution       $    (70,000.00)
Bank of America (4326)                3/21/2018    Distribution       $    (70,000.00)
Bank of America (4326)                4/20/2018    Distribution       $    (64,000.00)
Bank of America (4326)                6/14/2018    Distribution       $     (6,000.00)
Bank of America (4326)                7/17/2018    Distribution       $    (40,000.00)
Bank of America (4326)                7/31/2018    Distribution       $    (25,000.00)
Bank of America (4326)                11/8/2018    Distribution       $    (10,000.00)
Bank of America (4326)                1/14/2019    Distribution       $    (22,000.00)
Bank of America (4326)                1/23/2019    Distribution       $     (9,200.00)

Gallant Capital, LLC
        Bank Account Number                 Date        Description       Payment
Bank of America (4326)                2/16/2018    Distribution       $   (892,500.00)
Bank of America (4326)                3/21/2018    Distribution       $   (892,500.00)
Tolleson Private Bank BUS CK **6536   4/20/2018    Distribution       $   (816,000.00)
Bank of America (4326)                6/14/2018    Distribution       $    (76,500.00)
Tolleson Private Bank BUS CK **6536   7/9/2018     Distribution       $   (510,000.00)
Tolleson Private Bank BUS CK **6536   7/31/2018    Distribution       $   (318,750.00)
Tolleson Private Bank BUS CK **6536   11/8/2018    Distribution       $   (127,500.00)
Tolleson Private Bank BUS CK **6536   11/15/2018   Distribution       $    (25,500.00)
Tolleson Private Bank BUS CK **6536   11/27/2018   Distribution       $   (255,000.00)
Tolleson Private Bank BUS CK **6536   1/14/2019    Distribution       $   (117,300.00)
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James Dowd
        Bank Account Number              Date          Description       Payment
Bank of America (4326)             2/16/2018      Distribution       $    (52,500.00)
Bank of America (4326)             3/21/2018      Distribution       $    (52,500.00)
Bank of America (4326)             4/20/2018      Distribution       $    (48,000.00)
Bank of America (4326)             6/14/2018      Distribution       $     (4,500.00)
Bank of America (4326)             7/17/2018      Distribution       $    (30,000.00)
Bank of America (4326)             7/31/2018      Distribution       $    (18,750.00)
Bank of America (4326)             11/8/2018      Distribution       $     (7,500.00)
Bank of America (4326)             1/14/2019      Distribution       $    (16,500.00)
Bank of America (4326)             1/22/2019      Distribution       $     (6,900.00)

Justin Martorello
        Bank Account Number              Date          Description       Payment
Bank of America (4326)             2/16/2018      Distribution       $   (346,500.00)
Bank of America (4326)             3/21/2018      Distribution       $   (346,500.00)
Bank of America (4326)             4/20/2018      Distribution       $   (316,800.00)
Bank of America (4326)             6/14/2018      Distribution       $    (29,700.00)
Bank of America (4326)             7/17/2018      Distribution       $   (198,000.00)
Bank of America (4326)             7/31/2018      Distribution       $   (123,750.00)
Bank of America (4326)             11/8/2018      Distribution       $    (49,500.00)
Bank of America (4326)             1/14/2019      Distribution       $   (108,900.00)
Bank of America (4326)             1/23/2019      Distribution       $    (45,540.00)

Simon Liang
        Bank Account Number              Date          Description       Payment
Bank of America (4326)             2/16/2018      Distribution       $    (52,500.00)
Bank of America (4326)             3/21/2018      Distribution       $    (52,500.00)
Bank of America (4326)             4/20/2018      Distribution       $    (48,000.00)
Bank of America (4326)             6/14/2018      Distribution       $     (4,500.00)
Bank of America (4326)             7/17/2018      Distribution       $    (30,000.00)
Bank of America (4326)             7/31/2018      Distribution       $    (18,750.00)
Bank of America (4326)             11/8/2018      Distribution       $     (7,500.00)
Bank of America (4326)             1/14/2019      Distribution       $    (16,500.00)
Bank of America (4326)             1/22/2019      Distribution       $     (6,900.00)
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               Case title                                        Nature of case            Court or agency's name and          Status of case
               Case number                                                                 address
       7.3.    Smith v. Martorello, et al                        470 Civil (RICO)          US Dist. Court, Oregon               Pending
               3:18-cv01651                                      Racketeer/Corrupt         1000 S.W. Third Ave.                 On appeal
                                                                 Organization              Portland, OR 97204
                                                                                                                                Concluded

       7.4.    Duggan v. Martorello, et al.                      18:1962                   US Dist. Court,                      Pending
               1:18-cv-12277                                     Racketeering              Massachusetts                        On appeal
                                                                 (RICO) Act                1 Courthouse Way
                                                                                                                                Concluded
                                                                                           Boston, MA 02210

       7.5.    Williams et al v. Microbilt                       15:1681 Fair              US Dist. Court, E. Dist. of          Pending
               Corporation et al                                 Credit Reporting          Virginia                             On appeal
               3:19-cv-00085                                     Act                       701 East Broad Street
                                                                                                                                Concluded
                                                                                           Richmond, VA 23219

       7.6.    Galloway et al. v. Martorello                     18:1961                   US Dist. Court, E. Dist. of          Pending
               et al                                             Racketeering              Virginia                             On appeal
               3:19-cv-00314                                     (RICCO) Act               701 East Broad Street                Concluded
                                                                                           Richmond, VA 23219

       7.7.    Galloway et al. v. Williams et                    18:1962                   US Dist. Court, E. Dist. of          Pending
               al                                                Racketeering              Virginia                             On appeal
               3:19-cv-00470                                     (RICO) Act                701 East Broad Street
                                                                                                                                Concluded
                                                                                           Richmond, VA 23219

       7.8.    Eventide Credit Acquisitions,                     28:1332                   US Dist. Court for W. Dist.          Pending
               LLC v. Ascension                                  Diversity-Other           of Michigan                          On appeal
               Technologies, LLC, Big                            Contract                  110 Michigan St NW #399              Concluded
               Picture Loans, LLC and Tribal                                               Grand Rapids, MI 49503
               Economic Development
               Holdings, LLC
               2:19-cv-00256

       7.9.    Matt Martorello, Liont LLC,                       Civil                     US Dist. Court, N.D. Texas,          Pending
               and Eventide Credit                               Miscellaneous             Dallas Div.                          On appeal
               Acquisitions, LLC v. Lula                         Case re Motion to         1100 Commerce St # 1452              Concluded
               Williams, on behalf of                            Quash                     Dallas, TX 75242
               Williams, Gloria Turnage, on                      Case transferred
               behalf of Turnage, George                         to the United
               Hengle, on behalf of Hengle,                      States District
               Dowin Coffy, on behalf of                         Court for the
               Coffy & Marcella P Singh, on                      Eastern District of
               behalf of Singh, Tolleson                         Virginia, with the
               Private Bank, as Objector                         underlying
               3:19-MC-0002-S                                    litigation, Williams
                                                                 v. Big Picture
                                                                 Loans, LLC,
                                                                 3:17-cv-00461-RE
                                                                 P (E.D. Va.).

       7.10 Eventide Credit Acquisitions,                        Breach of LSA,            American Arbitration                 Pending
       .    LLC v. Lac Vieux Desert Bank                         Note and                  Association                          On appeal
               of Lake Superior Chippewa                         Guaranty
                                                                                                                                Concluded
               Indians, Tribal Economic
               Development Holdings, LLC,
               Big Picture Loans, LLC,
               Ascension Technologies, LLC
               and LVD Tribal Acquisition
               Company, LLC
               01-19-0004-5187

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8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
                Recipient's name and address                     Description of the gifts or contributions                Dates given                         Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss          Value of property
       how the loss occurred                                                                                                                                  lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.                                                                                                                   Five
                                                                                                                               months that
                                                                                                                               Loeb was
                                                                                                                               retained
                                                                                                                               prior to the
                                                                                                                               Petition
                                                                                                                               Date. Loeb
                                                                                                                               is currently
                                                                                                                               holding
                 Loeb & Loeb LLP                                                                                               $50,000.00
                 10100 Santa Monica Blvd                                                                                       in retainer
                 Suite 2200                                          $250,000 loan advanced on behalf of                       (at date of
                 Los Angeles, CA 90067-4120                          Debtor.                                                   filing).              $206,809.07

                 Email or website address
                 bgiven@loeb.com

                 Who made the payment, if not debtor?
                 Bluetech Irrevocable Trust




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                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.2.                                                                                                                   1/28/2020 -
                                                                                                                               Paid from
                                                                                                                               IOLTA
                                                                                                                               account of
                 Forshey & Prostok, LLP                                                                                        Loeb &
                 777 Main Street                                                                                               Loeb, on
                 Suite 1290                                          $250,000 loan advanced on behalf of                       behalf of
                 Arlington, TX 76012                                 Debtor.                                                   the Debtor.          $25,000.00

                 Email or website address
                 jprostok@forsheyprostok.com

                 Who made the payment, if not debtor?
                 Bluetech Irrevocable Trust


       11.3.                                                                                                                   1/28/2020 -
                                                                                                                               Paid from
                                                                                                                               IOLTA
                 MACCO Restructuring Group,                                                                                    account of
                 LLC                                                                                                           Loeb &
                 The Pennzoil Building                                                                                         Loeb, on
                 700 Milam Street, Suite 1300                        $250,000 loan advanced on behalf of                       behalf of
                 Houston, TX 77002                                   Debtor.                                                   the Debtor.          $40,000.00

                 Email or website address
                 www.maccorestructuringgroup.com

                 Who made the payment, if not debtor?
                 Bluetech Irrevocable Trust



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
                Who received transfer?                           Description of property transferred or                  Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange             was made                        value
       13.1 Breakwater Holdings, LLC
       .    Bermuda House, Tutakimoa
                Road
                Rarotonga, Cook Islands                          See attached Exhibit SOFA 4/13/30

                Relationship to debtor
                Member




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               Who received transfer?                            Description of property transferred or                  Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange             was made                        value
       13.2 Brian McFadden
       .    3133 Indian Pont Road
               Saugatuck, MI 49453                               See attached Exhibit SOFA 4/13/30

               Relationship to debtor
               Member


       13.3 Gallant Capital, LLC
       .    1920 McKinney Avenue
               7th Floor
               Dallas, TX 75201                                  See attached Exhibit SOFA 4/13/30

               Relationship to debtor
               Member


       13.4 James Dowd
       .    2014 Calle Las Violetas
               San Juan, PR 00915                                See attached Exhibit SOFA 4/13/30

               Relationship to debtor
               Member


       13.5 Justin Martorello                                    See attached Exhibit SOFA 4/13/30
       .    2019 Westbourne Park Dr.                             Payments to Justin Martorello (deposited
               Houston, TX 77007                                 into joint account with Gina Martorello)

               Relationship to debtor
               Member


       13.6 Simon Liang
       .    119 Gascony Dr.
               Greenville, SC 29609                              See attached Exhibit SOFA 4/13/30

               Relationship to debtor
               Member


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.



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                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was              Last balance
                Address                                          account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
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      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Andersen and Starr Accounting                                                                                              2018 - Present
                    Division of Andersen
                    5949 Sherry Lane, Suite 500
                    Dallas, TX 75225
       26a.2.       Zayra Emanuelli                                                                                                            Approximately
                    Puerto Rico                                                                                                                January 1-June 30,
                                                                                                                                               2018
       26a.3.       Talkington & Associates                                                                                                    2018
                    295 Palmas Inn Way Ste 130 Pmb 354
                    Humacao, PR 791


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       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.4.       Melanie Hedrick (Andersen)                                                                                          2018 - Present
                    5949 Sherry Lane
                    Suite 500
                    Dallas, TX 75225
       26a.5.       Peter Watson (Andersen)                                                                                             2018 - Present
                    5949 Sherry Lane
                    Suite 500
                    Dallas, TX 75225
       26a.6.       Edwin Roberts (Andersen)                                                                                            2018 - Present
                    5949 Sherry Lane
                    Suite 500
                    Dallas, TX 75225
       26a.7.       Carol Robles                                                                                                        Approximately
                    Address Unknown                                                                                                     January 1-June 30,
                                                                                                                                        2018

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       Andersen and Starr Accounting,                                                                                      2018-Present
                    Division of Andersen
                    5949 Sherry Lane, Suite 500
                    Dallas, TX 75225
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.2.       Talkington & Associates                                                                                             2018
                    295 Palmas Inn Way Ste 130 Pmb 354
                    Humacao, PR 791

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Andersen
                    5949 Sherry Lane, Suite 500
                    Dallas, TX 75225
       26c.2.       Talkington & Associates
                    295 Palmas Inn Way Ste 130 Pmb 354
                    Humacao, PR 791
       26c.3.       Matt Martorello
                    3805 Greenbriar Dr
                    Dallas, TX 75225

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address


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 Debtor      Eventide Credit Acquisitions, LLC                                                          Case number (if known) 20-40349-11



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Breakwater Holdings, LLC                       Bermuda House, Tutakimoa Road                       Member                                59.6%
                                                      P.O. Box 822
                                                      Rarotonga, Cook Islands
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Matt Martorello                                3805 Greenbriar Dr                                  President
                                                      Dallas, TX 75225

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Drew McManigle                                 c/o MACCO Restructuring Group,                      Manager
                                                      LLC
                                                      700 Milam St., Suite 1300
                                                      Houston, TX 77002


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 See attached Exhibit SOFA
       .    4/13/30


               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation



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